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Exhibit A
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
TASER INTERNATIONAL, INC.,
et al.
Plaintiffs,
Vv. CIVIL ACTION NUMBER:

1:10-CV-03108-WBH
MORGAN STANLEY & CO., INC.,

et al.

Defendants.

 

 

[PROPOSED] CONSENT
ORDER EXTENDING TIME

Plaintiffs and Defendant Merrill Lynch Professional Clearing Corporation
(“Merrill Pro”) have consented and jointly moved to extend the pending deadline
for Plaintiffs to file their response to Merrill Pro’s Motion to Dismiss filed in the
above-captioned action, which was removed to this Court on September 28, 2010
from the State Court of Fulton County, Georgia.'

By agreement among the parties, and for good cause shown, it is hereby

ORDERED that:

 

' Plaintiffs believe that the removal of this case was improper, and have filed a
motion to remand. Plaintiffs’ agreement to this Proposed Consent Order
Extending Time should not be construed as Plaintiffs’ agreement or consent to the
removal or to the jurisdiction of this Court.

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Exhibit A
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The time for the Plaintiffs to file their response to Merrill Pro’s Motion to
Dismiss [Docket No. 59] is extended to and including December 17, 2010. This
extension shall be without prejudice to Plaintiffs’ right to request or move for a
further extension of time for their response to the Motion to Dismiss and without
prejudice to Defendants’ right to object to any such request or motion.

So ORDERED this ___ day of December, 2010.

 

Julie E. Carnes, Judge
United States District Court

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Jointly submitted this 13th day of December, 2010.

/s/ Jill A. Pryor

 

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CERTIFICATE OF SERVICE
I hereby certify that on this day, a true and correct copy of the foregoing
[PROPOSED] CONSENT ORDER EXTENDING TIME was electronically
filed with the Clerk of Court using the Court’s electronic filing system which will
automatically send an email notification of such filing to the following attorneys of
record who are registered participants in the Court’s electronic notice and filing
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Further, I hereby certify that on this day, I caused to be served a true and
correct copy of the foregoing via United States mail on:

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This the 13th day of December, 2010.

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